

Bersin Props., LLC v County of Monroe Indus. Dev. Agency (2017 NY Slip Op 09057)





Bersin Props., LLC v County of Monroe Indus. Dev. Agency


2017 NY Slip Op 09057


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


1466 CA 17-00514

[*1]BERSIN PROPERTIES, LLC, PLAINTIFF-APPELLANT,
vCOUNTY OF MONROE INDUSTRIAL DEVELOPMENT AGENCY, ET AL., DEFENDANTS, AND EAST IRONDEQUOIT CENTRAL SCHOOL DISTRICT, DEFENDANT-RESPONDENT. (APPEAL NO. 3.) 






QUINN EMANUEL URQUHART &amp; SULLIVAN, LLP, NEW YORK CITY (ANDREW R. DUNLAP OF COUNSEL), FOR PLAINTIFF-APPELLANT.
FERRARA FIORENZA PC, EAST SYRACUSE (CHARLES E. SYMONS OF COUNSEL), FOR DEFENDANT-RESPONDENT.


	Appeal from an order and judgment (one paper) of the Supreme Court, Monroe County (Matthew A. Rosenbaum, J.), entered June 14, 2016. The order and judgment, inter alia, granted the motion of defendant East Irondequoit Central School District for summary judgment dismissing the amended complaint against it and for partial summary judgment with respect to the second and third counterclaims. 
It is hereby ORDERED that the order and judgment so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








